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 1   William B. Federman*
     FEDERMAN & SHERWOOD
 2   10205 N. Pennsylvania Ave.
     Oklahoma City, OK 73120
 3
     Telephone: (405) 235-1560
 4   wbf@federmanlaw.com
     *Admitted Pro Hac Vice
 5
     Counsel for Plaintiffs and Interim Lead Counsel for the Class
 6

 7   VALARIE WILLIAMS (SBN 335347)
     valarie.williams@alston.com
 8   ALSTON & BIRD LLP
     560 Mission Street, Suite 2100
 9   San Francisco, California 94105
     Telephone: 415-243-1000
     Facsimile: 415-243-1001
10
     KRISTINE BROWN (admitted pro hac vice)
11   Kristy.brown@alston.com
     DONALD HOUSER (admitted pro hac vice)
12   Donald.houser@alston.com
     ALSTON & BIRD LLP
13   1201 West Peachtree Street
     Atlanta, Georgia 30309
14   Telephone: 404-881-7000
15   Attorneys for Defendant Orrick, Herrington & Sutcliffe LLP
16
                              UNITED STATES DISTRICT COURT
17
                           NORTHERN DISTRICT OF CALIFORNIA
18
                           SAN FRANCISCO / OAKLAND DIVISION
19

20      IN RE: ORRICK, HERRINGTON &                      Master File No.: 3:23-cv-04089-SI
        SUTCLIFFE, LLP DATA BREACH
21      LITIGATION                                       JOINT STATUS REPORT
22      This Document Relates To:
23
        All Actions.
24

25
     TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
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     IN RE: ORRICK, HERRINGTON & SUTCLIFFE, LLP DATA BREACH LITIGATION (Case No. 3:23-cv-
     04089-SI)
     JOINT STATUS REPORT
                 Case 3:23-cv-04089-SI Document 54 Filed 01/26/24 Page 2 of 3




 1          PLEASE TAKE NOTICE that Plaintiffs in the above-captioned action and Defendant

 2   Orrick, Herrington & Sutcliffe LLP submit the following Joint Status Report

 3          1.      On December 21, 2023, the above-mentioned parties issued a Notice of

 4   Settlement and Joint Stipulation and [Proposed] Order to Stay Litigation Activities Pending

 5   Filing for Preliminary Approval. [Doc. 50].

 6          2.      On December 21, 2023, this Court issued an Order staying litigation activities

 7   pending filing for preliminary approval (“Order”). [Doc. 51].

 8          3.      The Order states that “Plaintiffs will file the Preliminary Approval Motion

 9   promptly after the settlement is finalized and the formal settlement agreement is fully executed

10   which the parties believe will be within the next fifteen (15) days.” Id. at p. 2.

11          4.      The Order further states “[t]he Parties shall file a status report within 35 days of

12   entry of an order granting this joint stipulation in the event that Plaintiffs have not yet filed the

13   Preliminary Approval Motion.” Id.

14          5.      The Parties have continued to use diligent efforts to promptly finalize and execute

15   the formal settlement agreement. The Parties have shared multiple drafts and continue to discuss

16   the terms on a consistent basis. In this continued effort, the Parties have not yet finalized the

17   settlement and formal settlement agreement.

18          6.      Plaintiffs continue to work diligently to find and negotiate a reasonable price for

19   a claims administrator. Plaintiff has reached out to multiple claims administrators for bids, and

20   is in the process of obtaining bids and negotiating current bids.

21          7.      As such, Plaintiffs are not yet ready to file the Preliminary Approval Motion.

22          8.      The Parties believe that they will finalize the settlement and formal settlement

23   agreement, and file their Motion for Preliminary Approval, within the next thirty (30) days.

24

25   Dated: January 26, 2024                By:     /s/ William B. Federman

26                                                  William B. Federman*
                                                    FEDERMAN & SHERWOOD
27                                                  10205 N. Pennsylvania Ave.
28                                                    -2-
     IN RE: ORRICK, HERRINGTON & SUTCLIFFE, LLP DATA BREACH LITIGATION (Case No. 3:23-cv-
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 1                                                 Oklahoma City, OK 73120
                                                   Telephone: (405) 235-1560
 2                                                 Email: wbf@federmanlaw.com
                                                   *Admitted Pro Hac Vice
 3

 4                                                 /s/ Kristine M. Brown
                                                   Kristine M. Brown (admitted pro hac vice)
 5                                                 ALSTON & BIRD LLP
                                                   1201 West Peachtree Street
 6                                                 Atlanta, Georgia 30309
                                                   Kristy.brown@alston.com
 7                                                 Telephone: 404-881-7000

 8
                                        FILER’S ATTESTATION
 9
            I, William B. Federman, am the ECF User whose identification and password are being
10
     used to file this Unopposed Amended Motion to Consolidated and Appoint Interim Lead
11
     Counsel. In compliance with Local Rule 5-1(i)(3), I hereby attest that the foregoing signatures
12
     identified above concur in this filing’s content and have authorized its filing.
13

14                                                         /s/William B. Federman
                                                           William B. Federman
15

16                                   CERTIFICATE OF SERVICE
17          I hereby certify that on January 26, 2024, I electronically filed the foregoing document
18   with the Clerk of the Court using CM/ECF. I also certify the foregoing document is being served
19   today on all counsel of record in this case via transmission of Notice of Electronic Filing
20   generated by CM/ECF and on counsel in the related cases to their respective emails per the
21   below service list.
22                                                         /s/William B. Federman
                                                           William B. Federman
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     IN RE: ORRICK, HERRINGTON & SUTCLIFFE, LLP DATA BREACH LITIGATION (Case No. 3:23-cv-
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